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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION


UNITED STATES OF AMERICA

       vs.                  CASE NO. 4:98cr00091-49 JMM

FRANKIE WEBB


                       AMENDED JUDGMENT & COMMITMENT


       The Judgment entered in this case on September 20, 2013 (DE #1897) is amended

to include that the defendant shall surrender to the United States Marshal for this district

on October 21, 2013, as stated on record.

       The remaining portions of the Judgment will remain in full force and effect.

       The Clerk is directed to provide a copy of this order to the United States Probation

Office and the United States Marshals Service.

       IT IS SO ORDERED this 1st day of October, 2013.



                                          UNITED STATES DISTRICT JUDGE
